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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                          WEST PALM BEACH DIVISION

                          CASE NO. 22-CV-81294-CANNON

  DONALD J. TRUMP,

        Plaintiff,

  v.

  UNITED STATES OF AMERICA,

        Defendant.
  ________________________________/

                       UNITED STATES’ NOTICE OF FILING

        The United States of America hereby files its Letter regarding Corrected Logs of

  Disputed Documents for Report and Recommendation, attached as Attachment A.

                                         Respectfully submitted,

                                         JUAN ANTONIO GONZALEZ
                                         UNITED STATES ATTORNEY

                                         MATTHEW G. OLSEN
                                         Assistant Attorney General

                                         By:    /s/
                                         JAY I. BRATT
                                          Chief
                                         JULIE A. EDELSTEIN
                                          Deputy Chief
                                         STEPHEN MARZEN
                                          Trial Attorney
                                         Counterintelligence and Export Control Section
                                                National Security Division
                                         Department of Justice
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 16, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices of

  Electronic Filing generated by CM/ECF.




                                           /s/     Julie A. Edelstein
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